Case 1:09-cr-00466-BMC-RLM Document 723 Filed 04/10/24 Page 1 of 2 PageID #: 18732




                                                                                                 C/M

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------- X
   UNITED STATES OF AMERICA,                                 :
                                                             :
                                                             : ORDER
                   -against-                                 :
                                                             : 09-cr-466 (BMC)
                                                             :
   JOAQUIN ARCHIVALDO GUZMAN                                 :
   LOERA,                                                    :
                                                             :
                                        Defendant.           :
  ---------------------------------------------------------- X

  COGAN, District Judge.

          Defendant, currently serving a sentence of life imprisonment in Florence, Colorado

  following his conviction before this Court, has written a letter requesting that the Court order the

  Bureau of Prisons to increase personal and telephone visits with his wife and daughters. The

  basis of the request appears to be defendant's belief that this Court previously authorized two

  telephone calls per month and he is not receiving those calls.

          If defendant is referring to the Special Administrative Measures that were in effect prior

  to and during his trial, those measures were superseded once he was convicted and the Bureau of

  Prisons assigned him to his present facility. After his conviction, the Bureau of Prisons became

  solely responsible for his conditions of his confinement, and this Court has no power to alter the

  conditions that the Bureau of Prisons has imposed. Accordingly, his request must be denied
Case 1:09-cr-00466-BMC-RLM Document 723 Filed 04/10/24 Page 2 of 2 PageID #: 18733




  without prejudice to seek modification of his conditions of confinement from the Bureau of

  Prisons.

  SO ORDERED.

                                              ______________________________________
                                                            U.S.D.J.

  Dated: Brooklyn, New York
         April 10, 2024




                                                 2
